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                                                                             2018 Apr-27 PM 06:57
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 IN RE: BLUE CROSS BLUE SHIELD                Master File No. 2:13-CV-20000-
     ANTITRUST LITIGATION                     RDP
            MDL 2406
                                              This Document relates to all
                                              cases.


    DEFENDANT BLUE CROSS AND BLUE SHIELD OF ALABAMA’S
              MOTION TO EXCEED PAGE LIMIT

      COMES NOW Defendant Blue Cross and Blue Shield of Alabama,

(“BCBSAL” or “Defendant”), by and through its undersigned counsel, and

respectfully moves this Court for permission to exceed the page limit for its

opposition to Plaintiffs’ Motion for Sanctions for Violation of Discovery Order

No. 76. In support of this Motion, Defendant states as follows:

      1.    Discovery Order No. 1, by amendment, allows the non-moving party

to submit an opposition of no more than 30 pages. (Doc. 483)

      2.    Plaintiffs’ Motion, at 29 pages, raises significant and material

allegations regarding BCBSAL’s compliance with the discovery process in this

litigation and seeks one of the most extreme sanctions a court can impose, the

wholesale waiver of the privilege as to all documents on BCBSAL’s privilege log.

      3.    Defendant BCBSAL endeavored to submit a concise and succinct

opposition in response.
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      4.      Given the drastic remedy that is now being sought against BCBSAL

here, BCBSAL requests permission to file a response in excess of this page

limitation to adequately respond.    A detailed and thorough discussion of the

discovery process that BCBSAL followed is needed to properly frame the extreme

relief that is now requested.

      WHEREFORE, premises considered, Defendant Blue Cross and Blue Shield

of Alabama respectfully requests permission to file a response in excess of the 30-

page limit.


Dated: April 27, 2018

                                       Respectfully submitted,

                                       /s/ Carl S. Burkhalter
                                       James L. Priester
                                       Carl S. Burkhalter
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                                       Blue Cross Blue Shield of Alabama
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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 27, 2018, the foregoing was electronically filed

with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.

                                            /s/ Carl S. Burkhalter
                                            Carl S. Burkhalter
